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 8                                 UNITED STATES DISTRICT COURT

 9                          FOR THE EASTERN DISTRICT OF CALIFORNIA

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11   LEN NGUYEN,                                       No. 2:18-cv-1228 CKD P
12                      Petitioner,
13          v.                                         ORDER
14   THOMAS D. HOMAN, et al.,
15                      Respondents.
16

17          Petitioner has filed an application for a writ of habeas corpus pursuant to 28 U.S.C. §

18   2241, together with a request to proceed in forma pauperis.

19          Examination of the in forma pauperis affidavit reveals that petitioner is unable to afford

20   the costs of suit. Accordingly, the request for leave to proceed in forma pauperis is granted. See

21   28 U.S.C. § 1915(a).

22          Since petitioner may be entitled to the requested relief if the claimed violation of

23   constitutional rights is proved, respondent will be directed to file an answer or a motion to

24   dismiss.

25          Petitioner has requested the appointment of counsel. There currently exists no absolute

26   right to appointment of counsel in habeas proceedings. See Nevius v. Sumner, 105 F.3d 453, 460

27   (9th Cir. 1996). However, 18 U.S.C. § 3006A authorizes the appointment of counsel at any stage

28   of the case “if the interests of justice so require.” See Rule 8(c), Fed. R. Governing § 2254 Cases.
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 1   In the present case, the court does not find that the interests of justice would be served by the

 2   appointment of counsel at the present time.

 3          In accordance with the above, IT IS HEREBY ORDERED that:

 4          1. Petitioner’s request to proceed in forma pauperis (ECF No. 2) is granted;

 5          2. Respondent is directed to file an answer or a motion to dismiss within sixty days from

 6   the date of this order. If an answer is filed, respondent shall include with the answer any and all

 7   transcripts or other documents relevant to the determination of the issues presented in the

 8   application.

 9          3. Petitioner’s traverse, if any, is due on or before thirty days from the date respondent’s

10   answer is filed; an opposition to a motion to dismiss is due within thirty days of service of the

11   motion to dismiss;

12          4. The Clerk of the Court shall serve a copy of this order together with a copy of

13   petitioner’s application for a writ of habeas corpus pursuant to 28 U.S.C. § 2241 on the United

14   States Attorney.

15          5. Petitioner’s motion for the appointment of counsel (ECF No. 3) is denied.

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17   Dated: May 18, 2018
                                                       _____________________________________
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                                                       CAROLYN K. DELANEY
19                                                     UNITED STATES MAGISTRATE JUDGE

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